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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                   SOUTHERN DISTRICT OF OHIO, WESTERN DIVISION

  CITY OF DAYTON OHIO,                                    Case No. _
  101 West Third Street                                   Judge
  Dayton, Ohio 45402,                                     Magistrate

                   Plaintiff,
            v.                                            FTCA COMPLAINT
                                                          28 U.S.C. §§ 1346(b)(1) & 2674
  UNITED STATES OF AMERICA,
  c/o Vipal J. Patel, Acting U.S. Attorney,
  U.S. Attorney's Office for the S. Dist. of Ohio
  303 Marconi Boulevard, Suite 200
  Columbus, OH 43215,

                   Defendant.


       Now comes the Plaintiff, City of Dayton, Ohio (hereinafter "the City" or "Dayton") to file

this Complaint under the Federal Tort Claims Act ("FTCA") against the United States of America

(hereinafter "the United States") to recover past, present, and future damages caused by ongoing

contamination of the City's drinking water supply (including its wellfield and surrounding

property, production and sentinel wells, and untreated and treated water) with per- and poly-

fluoroalkyl-based substances ("PFAS") disposed of at, or otherwise released at, the U.S.

Department of the Air Force's Wright-Patterson Air Force Base ("WPAFB" or "the Base"),

addressed at 88t" Air Base Wing, Wright-Patterson Air Force Base, 5135 Pearson Road, Wright-

Patterson AFB, Ohio 45433. As of the date of filing of this Complaint, WPAFB has taken no

action to stop or even mitigate the ongoing migration of its PFAS contamination into the City's

wellfield and water supply, nor has agreed to pay for, reimburse, or otherwise offer to share any

of the monetary damages incurred by the City in response to the contamination.

                                           THE PARTIES

       1.        Plaintiff, City of Dayton, is an Ohio municipal corporation with its principal office
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located at 101 West Third Street, Dayton, OH 45402.

         2.     Defendant, United States, is responsible for the U.S. Department of Defense and its

armed services branches, including the U.S. Air Force and its Air Bases, including WPAFB.

WPAFB is operated by the U.S. Air Force, a branch of the U.S. Department of Defense, and is

located adjoining the northeast boundary of Dayton, Ohio, with operations in both Montgomery

and Greene Counties, Ohio. Under Rule 4(i) of the Federal Rules of Civil Procedure, Defendant's

address for service is the U.S. Attorney's C)ffice for the Southern District of Ohio, 303 Marconi

Boulevard, Suite 200, Columbus, OH 43215.

                                    BACKGROUND FACTS

         3.     Dayton provides potable water to over 400,000 residents, businesses, and contract

customers. The City's service area includes most of Montgomery County, Ohio, including the

Cities of Dayton, Kettering, Riverside, Centerville, Trotwood, and Brookville, and Harrison

Township; customers in Greene County, Ohio; and service to the Dayton International Airport as

well.

         4.     The City's distribution lines extend over 50 square miles and carry an average of

65 million gallons each day. The City's Water Department operates wellfields in the Great Miami

River and Mad River basins that include production wells supplying groundwater to two water

treatment plants, one lime recovery facility, two main pumping stations, six booster pumping

stations. and eleven water storage facilities. Surrounding the City's production wells are hundreds

of monitoring wells ("sentinel wells") installed as an early warning system for detecting potential

contaminants in groundwater that may be migrating into the capture zone of the production wells.

S.       WPAFB's operations are located upgradient of the City's Mad River wellfield. In some

locations, the operations are no more than a mile or so from the nearest City production well, and




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closer than that from many early-detection sentinel wells installed by the City.

        6.     Dayton relies solely on groundwater for its source of drinking water. There is no

other source if the aquifer becomes contaminated and unusable. In order to protect the aquifer, the

City successfully petitioned U.S. EPA in 1988 to designate the aquifer as a "sole source aquifer"

under Section 1424 of the Safe Drinking Water Act, the first such designation in the Midwest. The

sole source aquifer that provides drinking water to the City also serves as the source of drinking

water for over 2.5 million residents and businesses in Southwestern Ohio.

        7.     For many decades, representatives for WPAFB have known that the City relies on

its sole source aquifer for drinking water; that operations at the Base were located inside designated

one and five-year protection zones surrounding the City's Mad River Wellfield; and that operations

at the Base therefore had the potential, if not properly managed, to contaminate the aquifer that

provides the sole source of water for the City's drinking water system that supplies water to over

400,000 residents, businesses and contract customers.

       8.      WPAFB's records indicate that it began using PFAS-containing aqueous

firefighting foams ("AFFFs") in 1970 to extinguish aviation fuel-based and oil-based fires, and to

conduct firefighting training exercises.

       9.      Upon information and belief, thousands of gallons of PFAS-containing AFFF

concentrate were stored each year at the Base and used for decades in fire suppression and regular

firefighting training exercises. WPAFB's use of these AFFFs to extinguish fires and in firefighting

training exercises occurred under circumstances where little or no steps were taken to minimize

the potential for significant runoff of AFFF residues onto the ground and into surrounding soils

and nearby surface waters.

       10.     Beginning as early as 1973,- information became known to, or at least readily




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available to, WPAFB, indicating that PFAS-containing AFFF were toxic and environmentally

persistent. For example, in 1973 the U.S. Air Force issued a report finding that the foam was toxic

to aquatic life and not biodegradable, and stating that Air Command environmental coordinators

expressed concern for disposing of AFFFs after use. In 1974 the U.S. Air Force issued another

report confirming these findings and recommending that wastewaters from firefighting operations

be collected and treated before discharge.

        11.    In March 2011 the Department of Defense's ("DOD") Materials of Emerging

Regulatory Interest Team issued Risk Alert # 03-11 to all military branch environmental

coordinators stating, among other things, that (a) the discharge of PFAS-containing AFFF was

regulated under the federal Clean Water Act; (b) potential liability for the release of such foam

needed to be weighed against the cost of disposal and resupply with alternative chemicals; (c)

uncontrolled, repeated application of PFAS-containing AFFF at fire training areas could be

expected to contaminate soil and groundwater, and thus such activities needed to be managed; and

(d) containment, treatment, and proper disposal of foam discharges through the use of lined pits

and improved wastewater treatment were recommended.

       12.     WPAFB knew at least as far back as early 1988 that its use of AFFF and, more

specifically, the lack of sufficient controls over the handling of residues created from fire

suppression activities and firefighting training exercises, had contaminated many areas at the Base.

In February 1988 WPAFB entered into an administrative order with Ohio EPA that obligated the

Base to investigate and potentially remediate more than 30 separate waste disposal areas, including

numerous past and current fire suppression areas and firefighting training areas identified by the

Base itself as potentially contaminated areas.

       13.     To fulfill obligations under the February 1988 order, WPAFB conducted a




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preliminary assessment of 50+ areas at the Base known or suspected to be sources of PFAS

contamination, starting sometime in early 2015. A final preliminary assessment report was issued

in September 2015.

       14.     The 2015 preliminary assessment report concluded that PFAS contamination had

been documented, in terms of mass of PFAS released, at 25 different areas at WPAFB sufficient

to warrant a formal site investigation. Importantly, the report stated that contamination in four

areas was just over a mile upgradient of the City's Mad River Wellfield production wells; was

inside the City's wellfield protection zones; and was so significant that it warranted classification

as "Group 1," denoted in the report as "High mass of AFFF released and probability of

groundwater contamination."

       15.     Sampling by WPAFB in 2014, 2015, and 2016 offinished drinking water supplied

by the Base to its own residents and employees revealed the presence of PFAS at concentrations

as high as three times greater than U.S. EPA's 2016 Health Advisory Level for PFAS. The

corresponding concentrations in the groundwater that supplied the production wells at the Base

could only have been substantially higher.

       16.     In response to Ohio EPA's receipt of this sampling data, emergency measures,

including mandated health advisories, supplying of bottled water, and shutting down impacted on-

site wells, were ordered by the Agency in two May 2016 emergency orders issued to WPAFB.

       17.     On June 2 and 20, 2016, Ohio EPA issued follow-up letters to WPAFB under the

emergency provisions in the 1988 administrative order between the Agency and WPAFB, directing

the Base to undertake "an expedited removal action ... to ensure that PFAS detected in ground water

at the Base are prevented from affecting...the downgradient City of Dayton production wells."

       18.     In the almost five years since the June 2016 letters were issued by Ohio EPA to




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WPAFB, the Base has never proposed, developed, designed, or implemented any removal action

to stop PFAS detected in groundwater at the Base from migrating into and adversely affecting the

City of Dayton's Mad River Wellfield.

       19.     Because WPAFB never undertook the removal action directed by Ohio EPA, in

order to minimize the imminent threat to the City's water supply, Ohio EPA advised the City to

shut down seven production wells closest to WPAFB, which the City did to protect its residents,

resulting in the City immediately losing 33% of its production capacity from its wellfield. Because

WPAFB has taken no action to stop the ongoing migration of its PFAS contamination into the

City's wellfield, these seven production wells have remained shut down for more than four years.

       20.     In addition, at Ohio EPA's direction, the City began quarterly testing for PFAS in

its early detection sentinel wells located between its production wells and WPAFB. At the

Agency's request and the recommendation of the City's drinking water consultant, the City

installed more than 100 additional sentinel wells in the geographical area between the City's

wellfield and WPAFB in order to increase the ability to detect migration of PFAS-contaminated

groundwater from the Base into the cone of influence for the City's production wells.

       21.     Since beginning its monitoring program in mid-2016, the City has consistently

detected PFAS above U.S. EPA's 2016 Health Advisory Level in sentinel wells through the date

of filing of this Complaint.     These levels also exceed U.S. EPA's December 19, 2019,

recommended groundwater preliminary remediation goals for the two most common members of

the PFAS family of chemicals.

       22.     Late in 2017 the City also begin detecting PFAS in other active production wells

located further downgradient from WPAFB, and the City continues to consistently detect PFAS in

these wells as of the date of this Complaint. Although levels in these active production wells have




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not been above U.S. EPA's 2016 Health Advisory Level or its 2019 recommended groundwater

remediation guidelines, they are above other health-based drinking water standards and action

levels adopted for PFAS in the past three years in as many as 10 other states, and also above the

recommended safe level proposed by the Center for Disease Control in 2018.

                   23.                         As a consequence of the PFAS contamination that continues to migrate from the

Base into Dayton's wellfield, the City was forced to develop and implement a detailed, expensive

pumping/blending program with its remaining production wells in order to reduce PFAS levels in

raw and treated water. Despite this program, finished water from the City's treatment plant

consistently shows PFAS levels as high as 15 parts per trillion, higher than many of the health-

based drinking water standards and action levels adopted for PFAS in the past three years in many

other states.

                   24.                         When WPAFB continued to not comply with Ohio EPA's May 2016 orders, the

Agency issued an additional order dated January 29, 2018, that directed WPAFB once again to

prepare and submit a plan to stop the ongoing migration of PFAS into the City's wellfield. The

letter contains the following passage:

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                  25.                          Instead of taking action expeditiously to address the ongoing PFAS contamination



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of, and ongoing imminent threat to, Dayton's water supply, WPAFB's response to the

contamination, and to Ohio EPA's letters and notices of violation has been limited to a series of

on-site monitoring and investigations lasting over four years, culminating in a decision in

December 2020 to engage in yet another series of lengthy investigations that, per WPAFB's own

estimate, will not result in any potential removal or remedial actions designed to reduce, much less

eliminate, the ongoing PFAS contamination of the City's wellfield and water supply, or stop the

ongoing threat to the City's water supply, for at least the next five years or longer.

       26.     In an effort to avoid filing this FTCA Complaint, and in response to WPAFB's

continued refusal to take action to eliminate or even reduce the ongoing PFAS contamination of

the City's wellfield and water supply, the City sought relief in the spring of 2020 under Section

332 of the National Defense Authorization Act ("NDAA") for Fiscal Year 2020, signed into law

on December 19, 2019.

       27.     The NDAA requires that, upon request from the governor of a state, the Secretary

of Defense shall work expeditiously to enter into a cooperative agreement to address testing,

monitoring, removal, and remedial actions relating to the contamination or suspected

contamination of drinking, surface, or ground water from PFAS originating from activities of the

DOD. The NDAA also provides that when DOD is authorized to expend funds for the purpose of

addressing ground or surface water contaminated by PFAS the Secretary of Defense may enter

into such cooperative agreement directly with the local water authority with jurisdiction over the

contamination site, including a public water system.

       28.     Recognizing the significance of the threat to the City's water supply, at the request

of the City and the Ohio EPA, Ohio Governor Mike DeWine sent a letter dated August 27, 2020,

to the Secretary for DOD, requesting a cooperative agreement under the NDAA, and summarizing




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the significance of the contamination and the importance of the sole source designation for the

aquifer that supplies drinking water for millions of people. The Governor ended his letter with "I

look forward to hearing from your office as soon as possible so that we can begin moving

expeditiously with the City of Dayton and WPAFB on a cooperative agreement to protect one of

the Ohio's most vital water resources."

       29.     Hearing no response, Ohio Governor DeWine sent a second letter to the Secretary,

dated January 8, 2021, reiterating his request, stressing the urgency of the matter, and referencing

a series of interim projects proposed by the City and Ohio EPA to WPAFB that could be

implemented immediately to reduce the rate of ongoing migration of PFAS from the Base into the

City's wellfield. The Governor closed his second letter stating that "Ohio EPA and the City of

Dayton want to work cooperatively with WPAFB to address the PFAS contamination... a signed

cooperative agreement would enable DOD/WPAFB to request a portion of the... $251 million...to

be applied to the projects....Ohio looks forward to working with you."

       30.     In a letter dated January 18, 2021, DOD's Undersecretary of Defense for

Acquisition and Sustainment responded to Ohio Governor DeWine's letters, rejecting his request

for a cooperative agreement under the NDAA to address the PFAS contamination of the City of

Dayton's wellfield.

        DENIAL OF THE CITY'S ADMINISTRATIVE FICA DAMAGE CLAIM

       31.     As required under the FTCA, implementing regulations codified at 28 C.F.R. Part

14, and 32 U.S.C. § 842.79, the City submitted an administrative FTCA damage claim and

addendum on March 19, 2020, to the DOD on behalf of the U.S. Department of the Air Force,

Claims and Tort Litigation Division, at Joint Base Andrews, MD (Exhibit 1).

       32.     Under cover letter dated April 10, 2020, the Department of the Air Force
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acknowledged receipt of the claim on March 27, 2020, and requested that the City submit

documents evidencing the damages and the alleged responsibility of the United States therefor

(Exhibit 2).

            33.     In response thereto, the City submitted extensive documents to support its claim,

including monitoring and modeling data; correspondence to/from WPAFB and between WPAFB

and Ohio EPA; costs and expenses for sampling and analysis of the PFAS contamination and for

consultation with groundwater experts and their investigative services and reports; increased costs

for production of water for treatment; and an estimate from the City's consultant of the cost of a

treatment system to remove the PFAS contamination from the water entering the City's production

wells.

            34.     Under cover letter dated November 4, 2020, the Department of the Air Force denied

the City's administrative FTCA damage claim in its entirety (Exhibit 3).

                                         JURISDICTION AND VENUE

            35.     Under 28 U.S.C. §§ 1331, 1346(b)(1), and 2674, this Court has jurisdiction over

the City of Dayton's FTCA claims.

          36.       Under 28 U.S.C. § 1402(b), venue is proper in this Court because the City resides

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district.

                                        FIRST CLAIM FOR DAMAGES
                                          (Continuing Public Nuisance)

         3 7.      The City incorporates by reference herein allegations 1 through 3 6 of this

Complaint.

         3 8.      The City of Dayton and its residents, businesses, and contract water customers have

the common law right to a clean, safe, potable source of water of their own choosing.



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          3 9.   Until sometime on or about 2016, the City supplied a clean, safe, potable source of

water when it was discovered that PFAS contamination originating from WPAFB had migrated in

groundwater under the Base, and into the City's sentinel wells for its Mad River Wellfield, at

concentrations exceeding applicable federal and state drinking water standards and health advisory

levels.

          40.    WPAFB knew of the contamination of its groundwater with PFAS at least as early

as 2014, and consciously disregarded a known risk that the contamination had already migrated

off-site and into the City's downgradient wellfield, or that such risk was imminent.

          41.    WPAFB knew, consciously disregarded, or in an exercise of reckless disregard

should have known, that the location of its firefighting training centers and firefighting training

exercises, and specifically the manner in which these activities were being carried out for decades,

created a substantial risk that PFAS-containing AFFFs and residues would contaminate surface

soils and sediments, stormwater runoff, and underlying groundwater, thus threatening the quality

and safety of the sole source aquifer that the City relies upon for its drinking water supply.

          42.    WPAFB knew, consciously disregarded, or in an exercise of reckless disregard

should have known, that an aquifer with the characteristics of that underlying its property would

be highly susceptible to contamination from surface activities.

          43.    WPAFB knew, consciously disregarded, or in an exercise of reckless disregard

should have known, that contamination of the aquifer would pose a substantial risk of harm to the

City of Dayton and its water customers.

          44.    The acts and omissions of WPAFB unreasonably and significantly interfered with,

and continue today to unreasonably and significantly interfere with, the common rights of the City

of Dayton and its residents, businesses, and contract water customers, to a safe source of drinking




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water of their own choosing, and have caused, and continue today to cause, detrimental effects on

the public health, welfare, safety, comfort, and convenience of the residents and businesses in the

City of Dayton, thus creating a public nuisance.

       45.     WPAFB has knowingly and deliberately failed to remove the PFAS contamination

from the soils and groundwater underneath its property, and has knowingly and deliberately failed

to take any steps to stop the ongoing migration of PFAS in groundwater from the Base and into

the City's property, to wit, its Mad River wellfield production and sentinel wells, and its water

supply, thereby (a) knowingly and deliberately continuing to unreasonably and significantly

interfere with the common rights of the City's residents and businesses to a safe source of drinking

water of their oWn choosing, and (b) knowingly and deliberately continuing to cause detrimental

effects on the public health, welfare, safety, comfort, and convenience of the residents and

businesses in the City, thus creating an ongoing public nuisance.

       46.     As a direct and proximate result of the conduct of WPAFB in creating an ongoing

public nuisance, the City of Dayton has incurred substantial damages, which were presented to

WPAFB in the City's administrative FTCA damage claim, but denied in their entirety.

                              SECOND CLAIM F()R DAMAGES
                                  (Continuing Trespass)

       47.     The City incorporates by reference herein allegations 1 through 46 of this

Complaint.

       48.     The City of Dayton owns the Mad River Wellfield that was contaminated by the

acts and omissions of WPAFB that led to PFAS contamination at the Base that has migrated into,

and continues to migrate into today, the production and sentinel wells in the Wellfield, as well as

the City's public water supply.

       49.     Under Art. I § 19b of the Ohio Constitution, the City has a protected property



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interest in the groundwater that supplies raw water to its production wells for treatment and

distribution to the City's residents, businesses and contract water customers.

        5 0.   Upon information and belief, WPAFB knows that PFAS contamination on its

property exceeds applicable federal health advisory levels and recommended remediation

guidelines at numerous locations, and that the contamination has migrated into the City's wellfield

in concentrations above these levels.

       51.     The acts and omissions of WPAFB in causing PFAS contamination of its own

property have caused the contamination to migrate, via surface soils and sediments, stormwater

runoff, and groundwater, onto the City's property, interfering with its property rights, including

the City's right to full use and enjoyment of its wellfield and production wells for the purpose of

supplying water for treatment and distribution to residents, businesses and contract water

customers. These acts and omissions of WPAFB created a trespass on the City's property and

unlawful interference with the City's property rights.

       52.     WPAFB has not removed the contamination from the soils on, and the groundwater

running under, its property, nor has it taken any steps to stop the ongoing migration of the PFAS

contamination onto the City's property and into its production and sentinel wells, and into its water

supply, thus creating an ongoing trespass against the City's property rights.

       53.     WPAFB retains control and authority to stop the ongoing trespass onto the City's

property, but has knowingly and deliberately failed to exercise that control and authority.

       54.     As a direct and proximate result of the conduct of WPAFB in creating an ongoing

trespass against the City's property, in the form of the ongoing PFAS contamination of the City's

wellfield, the City of Dayton has incurred substantial damages, which were presented to WPAFB

in the City's administrative FTCA damage claim, but denied in their entirety.




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                                       PRAYER FOR RELIEF

         WHEREFORE, based on the forgoing claims, the City of Dayton requests that the Court

grant the City the following relief:

         1.    Award the City monetary damages for the continuing trespass and continuing

public nuisance caused by the contamination of the City's public water supply and appurtenant

structures (including its production and sentinel wells and treated and untreated water), up to the

maximum dollar amount set forth in the City's administrative FTCA damage claim;

         2.    Order WPAFB to reimburse the City for its past, present and future costs to

investigate, evaluate, and measure the contamination that continues to migrate into the City's

wellfield, including the costs of employing outside consultants and testing labs for these tasks, up

to the maximum dollar amount set forth in the City's administrative FTCA damage claim;

         3.    Order WPAFB to reimburse the City for its past, present and future costs to develop

and implement a complicated, alternative pumping plan among the City's production wells, a plan

necessitated in an effort to minimize the amount of PFAS contamination getting into untreated

water that the City treats for supplying its residents, businesses, and contract customers, up to the

maximum dollar amount set forth in the City's administrative FTCA damage claim;

         4.    Order WPAFB to pay for, or agree to reimburse the cost of, a treatment system to

be installed at the City's water treatment plant to remove PFAS from the incoming, untreated

water, up to the maximum dollar amount set forth in the City's administrative FTCA damage

claim;

         S.    To the extent permissible under the FTCA, award the City its reasonable attorney

fees and legal expenses incurred in evaluating the PFAS contamination and prosecuting these

FTCA claims, up to the maximum dollar amount set forth in the City's administrative FTCA

damage claim; and


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         6.       Award the City such other relief as the Court deems just and proper.

                                               Respectfully submitted,


                                               ss//Stephen N. Haughey
                                               Stephen N. Haughey (OH Bar No. 0010459)
                                               Christina Wieg (OH Bar No. 0098693)
                                               FROST BROWN TODD LLC
                                               3 O 1 E. Fourth Street, Suite 33 00
                                               Cincinnati, Ohio 45202
                                               (513) 651-6800
                                               shaughey ~~f btlaw.com
                                               cwieg~~fbtlaw.com
                                               Trial Counsel for Plaintiff City of Dayton, Ohio
CO-COUNSEL:
John C. Musto (OH Bar No. 0071512)
Chief Trial Counsel
City of Dayton Department of Law, Civil Division
101 West Third Street
Dayton, OH 45401
(937) 333-4116
j ohn.musto~~daytonohio.gov

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